                                      DECLARATION

      I, Christopher D’Amico, a Special Agent with the United States Secret Service

(USSS), hereby state, pursuant to 28 U.S.C. § 1746, under penalty of perjury and pursuant to

the laws of the United States, that the following is true and correct to the best of my

knowledge, information, and belief:

      1.      I have been a USSS Special Agent and sworn Federal law enforcement officer

since 2020. I have received specialized training and experience in the investigation of

financial crimes, including mail fraud, wire fraud, securities fraud, bank fraud, and money

laundering, as well as other violations of federal law.   In February 2021, I completed the

Criminal Investigator Training Program at the Federal Law Enforcement Training Program,

which incorporated legal, investigative, and law enforcement instruction. In August 2021, I

completed the Special Agent Training Course at the James J. Rowley Training Center in

Laurel, Maryland. In the Special Agent Training Course, I completed the Basic Investigations

of Computer and Electronic Crimes Program. Prior to joining the USSS, I served for four

years as a Logistics Officer in the United States Army. In May 2016, I completed an

undergraduate degree in Criminal Justice from King’s College in Wilkes-Barre,

Pennsylvania.

      2.      This Declaration is in support of a Verified Complaint of Forfeiture of the

following:

              a.    $909,708.64 in U.S. Currency seized from a subledger at Citibank, N.A.,

                    previously held in an account ending in 7108, in the name of NTGH 2A

                                                                         GOVERNMENT
                                                                           EXHIBIT

                                                                               A
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                       Auto Trade, INC, LLC (the account ending in 7108 is hereinafter

                       referred to as the “NTGH Account”); and

              b.       $69,003.39 in U.S. Currency seized from a suspense account at JP

                       Morgan Chase, N.A., previously held in an account ending in 0913, in

                       the name of SIGLO Export Import 22 Corp. (the account ending in 0913

                       is hereinafter referred to as the “SIGLO Account”).

      3.      The facts and information contained in this Declaration are based on both my

personal knowledge and experience, and law enforcement officers who participated in the

investigation described below. This Declaration does not set forth all facts known to me or

other law enforcement officers concerning the investigation.

      4.      Based on the facts set forth below, there is probable cause to believe the

$909,708.64 in U.S. Currency and the $69,003.39 in U.S. Currency are subject to forfeiture

pursuant to 18 U.S.C. § 981(a)(1)(A), as properties involved in a transaction or attempted

transaction in violation of 18 U.S.C. § 1956, or properties traceable to such properties, and

pursuant to 18 U.S.C. § 981(a)(1)(C), as properties which constitute or are derived from

proceeds traceable to an offense constituting “specified unlawful activity” (as defined by 18

U.S.C. § 1956(c)(7)), or a conspiracy to commit such offense, namely wire fraud in violation

of 18 U.S.C. § 1343.

                                   The Wire Fraud Scheme

      5.      In August and September 2022, within the Middle District of North Carolina

and elsewhere, an unidentified individual committed wire fraud and money laundering, in



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violation of 18 U.S.C. §§ 1343 and 1956(a)(1), to defraud a company (hereinafter “Victim

Company”) out of approximately $5,142,586.93.

      6.      An employee of Victim Company, with authority to conduct financial

transactions on behalf of Victim Company, fell victim to a business email compromise

scheme — a scheme wherein a criminal accesses the email account of a person without

authorization and then sends unauthorized email communications to another person to cause

unauthorized detrimental financial transactions.

      7.      Victim Company is a food distribution business located in Mount Vernon, New

York. Victim Company has an account at HSBC Bank, and when Victim Company conducts

financial transactions, Victim Company regularly transfers and receives funds via wire

deposit through its account at HSBC Bank.

      8.      On or about August 19, 2022, a representative of Victim Company received an

email from a food supplier located outside the United States (hereinafter the “Supplier”)

updating bank information for future payments to the Supplier. The email directed Victim

Company to wire payments to the Supplier to a Wells Fargo Bank account ending in 3001

(hereinafter “Wells Fargo x3001”).

      9.      In August and September 2022, Victim Company representatives made nine

wire payments totaling $5,142,586.93 from Victim Company’s account at HSBC Bank to

Wells Fargo x3001, believing that Wells Fargo x3001 was an account held by the Supplier.

      10.     Wells Fargo x3001 in fact belonged to an individual, Timothy Koob

(hereinafter “Koob”), who resides within the Middle District of North Carolina.



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      11.    In August and September 2022, Koob conducted a series of outbound wire

transfers involving the funds fraudulently obtained from Victim Company. In total, Koob

wired approximately $3,885,500.00 from Wells Fargo x3001 to several other bank accounts.

      12.    In September 2022, Koob sent a series of wire transfers totaling $1,695,000.00

from Wells Fargo x3001 to the NTGH Account. Of the total wires sent to the NTGH Account,

$909,708.64 was transferred to a bank subledger in the custody of Citibank, N.A., and, as

discussed below, subsequently seized by USSS, and $400.00 remains in the NTGH Account.

      13.    In September 2022, Koob sent a wire transfer in the amount of $540,000.00

from Wells Fargo x3001 to the SIGLO Account. Of the funds sent to the SIGLO Account,

$69,003.39 was transferred to a suspense account and in the custody of JPMorgan Chase

Bank, N.A., and, as discussed below, subsequently seized by USSS.

      14.    The chart below summarizes the movement of funds from Victim Company to

the NTGH Account and the SIGLO Account:

                   $5,142,586.93 funds from Victim Company’s HSBC Bank account



                                  Wells Fargo Account x3001



        Citibank - NTGH 2A Auto Trade, LLC                JPMorgan Chase –
              9/2 - $480,000.00 received            SIGLO Export Import 22 Corp.
              9/9 - $675,000.00 received                9/15 - $540,000 received
              9/15 – $540,000.00 received
                 Total – $1,695,000.00




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       15.    On or about September 19, 2022, a Victim Company representative discovered

the payments made after receipt of the email directing payments to Wells Fargo x3001 had

never been received by the Supplier. Victim Company representatives reviewed their email

and confirmed that the sender/receiver information on the August 19, 2022 email received

from their purported “Supplier” was fictitious.

       16.    On or about September 19, 2022, a Victim Company representative contacted

HSBC Bank and advised the bank representative about the wire transfers, and requested that

its most recent wire transfer be stopped. The wire, however, had already left Victim

Company’s account at HSBC Bank.

       17.    On or about September 20, 2022, HSBC Bank contacted Wells Fargo Bank

and provided information about the fraudulent wire transfers to Wells Fargo x3001.

       18.    USSS subsequently opened an investigation and determined that the wire fraud

scheme involved a money mule, identified as Koob.

                                 Money Mules Generally

       19.    Based on my training and experience, I know that a “money mule” is a person

whose bank account(s) acts as a conduit between a victim of a financial fraud scheme, which

is generally committed via the Internet, and the criminal(s) who perpetrates the fraud scheme

and receives the funds that originated from the victim. In my experience and in discussion

with other law enforcement officers who investigate fraud schemes committed via the

Internet, “money mules” are often persons sixty years or older; persons who develop a

romantic relationship with someone they never meet in person but consider a “boyfriend” or

“girlfriend”; unemployed persons who gain “employment” by simply conducting financial

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transactions on behalf of a purported “employer” who recruits the money mule; and/or

persons who believe or purport to believe that they are being recruited to transact money from

a legitimate source, such as an inheritance or business deal. However, in actuality, fraudsters

and money launderers, often located outside of the United States, use the Internet to exploit

human emotion and, particularly, to exploit individuals who seek out online relationships, and

then use those individuals and the individuals’ accounts to create the aforementioned conduits

to move money obtained by fraud from the victims’ accounts through the money mules and

to accounts controlled by the fraudsters.

                            USSS Interview of the Money Mule

       20.    On or about February 28, 2023, the USSS Charlotte Field Office interviewed

Koob. Koob admitted to receiving funds from Victim Company as well as transferring the

funds to multiple other bank accounts to include the NTGH Account and the SIGLO Account.

       21.    Koob reported that he previously received a phone call and email from a subject

who identified himself as “David Lockstone.” Koob and Lockstone never met in person, and

only communicated via email, text messages, and phone calls. Koob stated that Lockstone

threatened to harm his family in order to coerce him to conduct the financial transactions.

       22.    Koob was instructed to use his existing Wells Fargo account (Wells Fargo

x3001) to conduct the financial transfers. Wells Fargo x3001 was established by Koob in or

around September of 2020.

       23.    Koob was successful at completing multiple wire transactions, transferring the

funds received from the Victim Company bank account to other bank accounts. Koob

confirmed that he sent wire transfers from Wells Fargo x3001 to the NTGH Account and the

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SIGLO Account throughout September 2022. Koob was notified by Wells Fargo Bank on

October 5, 2022, that his accounts at Wells Fargo were scheduled to be closed due to

fraudulent activity.

       24.    Koob stated that he knew that the funds received from Victim Company, and

subsequently transferred to the NTGH Account and the SIGLO Account, were not intended

for him and that the person directing the transfers was involved in something illegal.

                               Seizure of the U.S. Currency

       25.    On March 17, 2023, USSS, pursuant to a seizure warrant issued by Magistrate

Judge Joe L. Webster [1:23MJ133], seized the $909,708.64 in U.S. Currency previously held

in the NTGH Account. Citibank, N.A., converted the funds into a check that it provided to

USSS, which deposited the check into its Customs Suspense Account.

       26.    On March 17, 2023, USSS, pursuant to a seizure warrant issued by Magistrate

Judge Joe L. Webster [1:23MJ134], seized the $69,003.39 in U.S. Currency previously held

in the SIGLO Account. JP Morgan Chase Bank, N.A., converted the funds into a check that

it provided to USSS, which deposited the check into its Customs Suspense Account.

                                         Conclusion

       27.    Based on the foregoing, there is probable cause to believe that $909,708.64 in

U.S. Currency seized from a subledger at Citibank, N.A., previously held in account ending

in 7108, in the name of NTGH 2A Auto Trade, INC, LLC, and $69,003.39 in U.S. Currency

seized from a suspense account at JP Morgan Chase Bank, N.A., previously held in account

ending in 0913, in the name of SIGLO Export Import 22 Corp., are subject to forfeiture

pursuant to 18 U.S.C. § 981(a)(1)(A), as properties involved in a transaction or attempted

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transaction in violation of 18 U.S.C. § 1956, or properties traceable to such properties, and

pursuant to 18 U.S.C. § 981(a)(1)(C), as properties which constitute or are derived from

proceeds traceable to an offense constituting “specified unlawful activity” (as defined by 18

U.S.C. § 1956(c)(7)), or a conspiracy to commit such offense, namely wire fraud in violation

of 18 U.S.C. § 1343.

      This the _7_ day of July, 2023.            CHRISTOPHE Digitally  signed by
                                                               CHRISTOPHER J D'AMICO

                                                 R J D'AMICO Date:   2023.07.07 10:52:30
                                                               -04'00'

                                                 _____________________
                                                 Christopher D’Amico
                                                 Special Agent
                                                 United States Secret Service




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